Case 2:05-cV-02353-.]DB-STA Document 16 Filed 07/14/05 Page 1 of 6 Page|D 15

j_."

Flt.ED sr D_c_
IN THE UNITED sTATEs DISTRICT CoURT _
FoR THE WESTERN DISTRICT OF TENNESSEE 95 ,
WESTERN DIvIsIoN JUL H‘ PH 2` 38
l,!* 601 pD
sECURITY FIRE PROTECTION Co., ) MPU§`§FWTW OOURT
INC., ) tth 05 a;€t€PHIS
)
Plaincirr, )
)
v. ) No. 05-2353 B/An
)
RoBERT S. RUSSELL and )
soUTHERN FIRE & sECURITY, INC., )
)
Defendants. )

 

ORDER DENYING MOTION FOR EXPEDITED DISCOVERY

 

Before the Court is the Veritied Complaint for Temporary Restraining Order, Temporary
and Permanent lnjunctions and Money Damages filed With the Court on May l l, 2005. A
Motion for Expedited Discovery is contained Within the Veriiied Complaint. United States
District Judge J. Daniel Breen referred the Motion for Expedited Discovery to the Magistrate
Judge for deterrnination, and the Court held a hearing on this matter on June 30, 2005 . For the
reasons set forth below, the Motion is DENIED.

BACKGROUND

P]aintiff filed this action against Defendants requesting temporary and permanent
injunctive relief and civil damagesI Plaintiff operates a business that instal]s, monitors, repairs
and inspects fire and burglar alarms. Det`endant Robert S. Russell (“Russell”) Was employed by

Plaintiff as the Department Manager of Plaintiff’s Alarm & Detection Division, and Plaintiff and

 

lsitll of the facts contained in this Order are taken from Plaintift" s Verified Complaint.

1
Thls document entered on the docket sheet in compliance

with sale se and/or vera FacP on '7/[5' 0

Case 2:05-cV-02353-.]DB-STA Document 16 Filed 07/14/05 Page 2 of 6 Page|D 16

Russell executed an Employee Confidentiality Agreement and Covenant Not to Compete (the
“Agreement”) on January 5, 1999. The Agreement provides that Russell understood he would
have access to confidential information, trade secrets and the like during his employment with
Plaintiff. The Agreement also provides that Russell would not compete With Plaintiff.

Russell resigned from his employment with Plaintiff on February 7, 2005 , and in his
resignation letter, Russell stated that “he had made the decision to begin his own fire alarm
company.” (Veritied Compl., 11 13). Plaintiff alleges that Russell is currently competing against
Plaintiff in his new business, Southern Fire & Security, lnc. (“Southern”), and that Russell is
offering services similar to those provided by Plaintiff. Plaintiff also alleges that Defendants
have solicited Plaintif`f’s existing and prospective customers in violation of the Agreement, and
that Defendants are “using the confidential and trade secret information of Plaintiff Security Fire
to the advantage of Defendant Russell and Defendant Southern and to the detriment of Plaintiff,
in violation of the Agreement.” (Id. il 19).

Within its Complaint, Plaintiff requests that the Court enter an Order allowing Plaintiff
the right to conduct expedited discovery and allow Plaintiff` to commence discovery simultaneous
with the service of the Complaint and Summons upon the Defendants. Plaintit`t` requests it be
permitted to commence depositions Within 20 days after service of the Complaint, and Plainti ff
requests the Court require Defendants to respond to Requests for Production of Documents
within 5 days of the start of the depositions Plaintiff also asks that it be allowed to immediately
commence all discovery allowed by the Federal Rules of Civil Procedure, including serving

subpoenas and serving discovery requests on Defendants.

Case 2:05-cV-02353-.]DB-STA Document 16 Filed 07/14/05 Page 3 of 6 Page|D 17

ANALYSIS

Courts have developed two separate tests to apply when determining whether or not to
grant a motion for expedited discovery ln Notaro v. Koch, a district court in the Southern
District of New York held that when looking at a request for expedited discovery, a court should
look at whether the plaintiff can demonstrate:

(l) irreparable injury, (2) some probability of success on the merits, (3) some

connection between the expedited discovery and the avoidance of the irreparable

injury, and (4) some evidence that the injury that will result without expedited

discovery looms greater than the injury that the defendant will suffer if` the

expedited relief is granted
Nomro vi Koch, 95 F.R.D. 403, 405 (S.D.N.Y. 1982) (“the Koch test”). The Koch test also
allows a court to look at two additional considerations: “whether the request is narrowly tailored
given the time restraints and whether the movant could have avoided Such restraints by acting
prior to the request.” ]d. (citing frisk Gay & Lesbz'an Org. v. Giuliam`, 918 F. Supp. 728, 730-31
(S.D.N.Y. 1996)). Multiple courts have followed the Koch test. See, e.g., Sz‘nclaz'r Na£’l Bank v.
Oyj'lce of the Comptroller of the Currency, No. 00-2398, 2000 WL 34012862, at *3 (D.D.C. Dec.
18, 2000);Gz`datext, S.R.L. v. Campaniello Imps., Lta’., 13 F. Supp. 2d 417, 420 (S.D.N.Y. 1998).

Other district courts apply a more liberal test for expedited discovery that is based on a
standard of reasonableness This “reasonableness test” asks courts to decide if expedited
discovery is appropriate based on “reasonableness of the request in light of all of the surrounding
circumstances . . . .” Emm't Tech. Corp. v. Walt Disney Imagz'neerz`ng, No. 03-3 546, 2003 WL
22519440, at *3 (E.D. Pa. 2003) (internal quotation marks omitted); see also Merrill Lynclz,

Pierce, Fenner & sz`th, Inc. v. O'Connor, 194 F.R.D. 618, 624 (N.D. lll.2000). When applying

the reasonableness test, the Court should apply multiple factors, including “(l) whether a

Case 2:05-cV-02353-.]DB-STA Document 16 Filed 07/14/05 Page 4 of 6 Page|D 18

preliminary injunction is pending; (2) the breadth of the discovery requests; (3) the purpose for
requesting the expedited discovery; (4) the burden on the defendants to comply with the requests;
and (5) how far in advance of the typical discovery process the request was made.” fn re Fanni`e
Mae Derivattve Lz`tig,, 227 F.R.D. 142, 143 (D.D.C. 2005) (citing Entm't Tech., 2003 WL
22519440, at *3-5).

fn this matter, the Complaint does not specifically state why expedited discovery is being
sought. Instead, the Complaint simply states that “pursuant to the Federal Rules of Civil
Procedure, this honorable court issue an Order allowing plaintiff the right to engage in expedited
discovery . . . simultaneous with the service of the Complaint and Summons upon the defendant
as in the manner allowed by law.” At the hearing, Plaintiff’ s counsel stated that Plaintiff would
be irreparably harmed if it was not allowed to engage in expedited discovery and that it needed
expedited discovery in order to support its request for injunctive relief. However, counsel
admitted that Plaintiff has not requested a hearing on its request for temporary and permanent
injunctive relief even though the Complaint was filed over 9 weeks ago.

At the hearing, Defendants argued that the only claim in this lawsuit that is subject to
federal jurisdiction is Plaintiff‘s claim filed pursuant to the Lanham Act, as the remaining claims
are contractual in nature and are therefore subject to state law. Defendants also stated that they
planned to file a motion to dismiss the Lanham Act claim, and that if the Court granted the
motion to dismiss, the Court would lack subject matter jurisdiction over the state law claims
Defense counsel finally argued that Plaintiff has been aware that Defendant was engaged in a
competing business since February 2005 ; therefore, Plaintiffs claim that it will suffer irreparable

harm is unsupported

Case 2:05-cV-02353-.]DB-STA Document 16 Filed 07/14/05 Page 5 of 6 Page|D 19

Whether following the Koch test or the more liberal reasonable test, the Motion for
Expedited Discovery should be denied. The Court notes that Defendant filed an unopposed
motion to extend the time it is required to answer or otherwise respond to Plaintiffs Complaint.
Additionally, Plaintiff has not demonstrated any urgency considering that it has been over nine
weeks since the Complaint was filed and Plaintiff still has not requested a hearing on its motion
for injunctive relief. Plaintiff has presented the Court with no evidence showing a probability of
success in this matter, and Plaintiff has presented the Court With no evidence of some connection
between the expedited discovery and the avoidance of the irreparable injury. ln light of all the
surrounding circumstances, the Court does not believe that expedited discovery is warranted
Plaintiff should be able to protect its interests through the normal discovery process prescribed in
the Federal Rules of Civil Procedure. For these reasons, the Motion for Expedited Discovery is
DENIED.

Pursuant to the Order of Reference, any objections to this Order shall be made in writing
within ten days after service of this Order and shall set forth with particularity those portions of

the Order objected to and the reasons for those objections

S/Z;l/Wll 141 @ .)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: W/L/ZDO(
o 1 '

IT IS SO ORDERED.

'sATEs DISTRICT oURT-WESTERDTISRICT FTNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CV-02353 was distributed by fax, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

Reagan F. Goins

ALLEN SUl\/[MERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 l\/lonroe Ave.

Ste. 650

l\/lemphis7 TN 38103--246

J ames B. Summers

ALLEN SUl\/[MERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 l\/lonroe Ave.

Ste. 650

l\/lemphis7 TN 38103--246

Thomas L. Henderson

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

l\/lemphis7 TN 38119

Kristy L. Gunn

LEWIS FISHER HENDERSON CLAXTON & MULROY
6410 Poplar Ave.

Ste. 300

l\/lemphis7 TN 38119

Honorable J. Breen
US DISTRICT COURT

